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 4
                                    UNITED STATES DISTRICT COURT
 5
                                         DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiffs,             )                 Case No. 2:13-cr-00018-JCM-GWF
                                               )
 9   vs.                                       )                  ORDER
                                               )
10   LEON BENZER, et al.                       )
                                               )
11                     Defendants.             )
     __________________________________________)
12
13          This matter is before the Court on the Motion to Quash Subpoena (#520), filed by non-party
14   witness Tommy F. Deaver.
15          Mr. Deaver was served with a Subpoena to Testify at a Hearing or Trial in a Criminal Case
16   by Defendant Keith Gregory on or about February 25, 2015. Motion (#520), Exhibit 2. Mr. Deaver
17   states that he resides in Midway, Utah which is located more than 400 miles from the United States
18   District Courthouse in Las Vegas, Nevada where his appearance at trial is required by the
19   subpoena. Mr. Deaver moves to quash the subpoena pursuant to Rule 45(c) of the Federal Rules of
20   Civil Procedure which provides that a person may only be required to attend trial within 100 miles
21   of where the person resides.
22          The Federal Rules of Civil Procedure do not govern a witness subpoena issued in a criminal
23   case. Rule 17(e)(1) of the Federal Rules of Criminal Procedure provides that a subpoena requiring
24   a witness to attend a hearing or trial may be served at any place within the United States. Rule
25   17(c)(2) provides that on motion made promptly, the court may quash or modify the subpoena if
26   compliance would be unreasonable or oppressive. Because Mr. Deaver bases his motion on the
27   incorrect law, and does not provide evidence that compliance with the subpoena would be
28   unreasonable or oppressive, his motion must be denied. Accordingly,
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 1          IT IS HEREBY ORDERED that Tommy F. Deaver’s Motion to Quash Subpoena (#520)
 2   is denied, without prejudice.
 3
            DATED this 9th day of March, 2015.
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                                                 ______________________________________
 6                                               GEORGE FOLEY, JR.
                                                 United States Magistrate Judge
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